                           Case 8-18-78239-las               Doc 29        Filed 12/20/18            Entered 12/20/18 13:57:26



   Fill in this information to identify your case:

   Debtor 1
                     JULIA                                               ROSALES
                     __________________________________________________________________
                       First Name              Middle Name             Last Name                       Check if this is:
   Debtor 2            ________________________________________________________________
   (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter 13
   United States Bankruptcy Court for the: Eastern District
                                           __________       of New
                                                        District     York
                                                                 of __________                             expenses as of the following date:
                       18-78239                                                                            ________________
   Case number         ___________________________________________                                         MM / DD / YYYY
    (If known)




                                    106J
 Schedule J: Your Expenses                                                                                                                            12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

  Part 1:            Describe Your Household

 1. Is this a joint case?

    ✔    No. Go to line 2.
         Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 2. Do you have dependents?                   ✔ No
                                                                                    Dependent’s relationship to              Dependent’s   Does dependent live
    Do not list Debtor 1 and                     Yes. Fill out this information for Debtor 1 or Debtor 2                     age           with you?
    Debtor 2.                                    each dependent ..........................
                                                                                                                                                No
    Do not state the dependents’                                                    _________________________                ________
    names.                                                                                                                                      Yes

                                                                                    _________________________                ________           No
                                                                                                                                                Yes

                                                                                    _________________________                ________           No
                                                                                                                                                Yes

                                                                                    _________________________                ________           No
                                                                                                                                                Yes

                                                                                    _________________________                ________           No
                                                                                                                                                Yes

 3. Do your expenses include
                                                 No
    expenses of people other than
    yourself and your dependents?            ✔   Yes


 Part 2:         Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                          Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and                                          3,200.00
                                                                                                                               $_____________________
      any rent for the ground or lot.                                                                                  4.

      If not included in line 4:
      4a.    Real estate taxes                                                                                         4a.     $_____________________
                                                                                                                                                      0

      4b.    Property, homeowner’s, or renter’s insurance                                                              4b.
                                                                                                                                                   0
                                                                                                                               $_____________________
      4c.    Home maintenance, repair, and upkeep expenses                                                             4c.                         0
                                                                                                                               $_____________________
      4d.    Homeowner’s association or condominium dues                                                               4d.     $_____________________
                                                                                                                                                      0

Official Form 106J                                             Schedule J: Your Expenses                                                          page 1
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 Debtor 1
                 JULIA                                           ROSALES
                  _______________________________________________________
                                                                                                               18-78239
                                                                                            Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                       Your expenses

                                                                                                                      $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                 5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                     6a.
                                                                                                                                     235.00
                                                                                                                      $_____________________
      6b.   Water, sewer, garbage collection                                                                   6b.    $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                     6c.                    80.00
                                                                                                                      $_____________________
      6d.   Other. Specify: _______________________________________________                                    6d.    $_____________________

 7. Food and housekeeping supplies                                                                             7.
                                                                                                                                        250.00
                                                                                                                      $_____________________

 8. Childcare and children’s education costs                                                                   8.     $_____________________
                                                                                                                                               0
 9. Clothing, laundry, and dry cleaning                                                                        9.     $_____________________
                                                                                                                                               0

10. Personal care products and services                                                                        10.
                                                                                                                                          40.00
                                                                                                                      $_____________________
11. Medical and dental expenses                                                                                11.                        0
                                                                                                                      $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.                                                                               0
                                                                                                                      $_____________________
      Do not include car payments.                                                                             12.
                                                                                                                                          40.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.    $_____________________
14.   Charitable contributions and religious donations                                                         14.    $_____________________
                                                                                                                                               0

15. Insurance.                                                                                                                                       1

      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                      15a.   $_____________________
                                                                                                                                               0

      15b. Health insurance                                                                                    15b.   $_____________________
                                                                                                                                               0

      15c. Vehicle insurance                                                                                   15c.
                                                                                                                                          0
                                                                                                                      $_____________________
                                                                                                                                               0
      15d. Other insurance. Specify:_______________________________________                                    15d.   $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                                               0
      Specify: ________________________________________________________                                        16.    $_____________________

17. Installment or lease payments:

                                                                                                                      $_____________________
                                                                                                                                               0
      17a. Car payments for Vehicle 1                                                                          17a.

                                                                                                                      $_____________________
                                                                                                                                               0
      17b. Car payments for Vehicle 2                                                                          17b.

                                                                                                                      $_____________________
                                                                                                                                               0
      17c. Other. Specify:_______________________________________________                                      17c.

                                                                                                                      $_____________________
                                                                                                                                               0
      17d. Other. Specify:_______________________________________________                                      17d.

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.
                                                                                                                      $_____________________
                                                                                                                                               0

19. Other payments you make to support others who do not live with you.

      Specify:_______________________________________________________                                           19.                       0
                                                                                                                      $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                         20a.   $_____________________

      20b. Real estate taxes                                                                                   20b.
                                                                                                                                          0
                                                                                                                      $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                        20c.
                                                                                                                                          0
                                                                                                                      $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                            20d.
                                                                                                                                          0
                                                                                                                      $_____________________

      20e. Homeowner’s association or condominium dues                                                         20e.
                                                                                                                                          0
                                                                                                                      $_____________________



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 Debtor 1
                 JULIA                                           ROSALES
                  _______________________________________________________
                                                                                                                   18-78239
                                                                                                Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




21.    Other. Specify: _________________________________________________                                           21.   +$_____________________

22.    Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                              22a.                     3,845.00
                                                                                                                          $_____________________

       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                      22b.     $_____________________
                                                                                                                                                    0

       22c. Add line 22a and 22b. The result is your monthly expenses.                                           22c.                  3,845.00
                                                                                                                          $_____________________



23. Calculate your monthly net income.
                                                                                                                                           4658.00
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.   – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.                                                                        813.00
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

          No.
      ✔                            RAISED RENTS BY $100.00 AND BEGAN RECIEVING A FAMILY CONTRIBUTION FROM
          Yes.     Explain here:   MY SON IN THE AMOUNT OF $850.OO MONTYHLY. THIS CHANGE STARTED DECEMBER
                                   2018.




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